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Attorneys for Plaintiff,
Karo]yn Porter
UNITED STATES DISTRICT COURT
CENTRAL `DISTRICT OF CALIFORNIA
WESTERN DIVISION
Karolyn Porter,
Plaintiff, COMPLAINT FOR DAMAGES
1. VIOLATION OF FAIR DEBT
vs. COLLECTION PRACTICES ACT,
15 U.S.C. § 169-2 ET. SEQ;
Mandarich Law Group, LLP; and DOES 2. VIOLATION OF FAIR DEBT
1~10, inclusive, COLLECTION PRATICES ACT,
CAL.CIV.CODE § 1788 ET. SEQ.
Defendants.
JURY TRIAL DEMANDED '

 

 

 

COMPLAINT FOR DAMAGES

 

 

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For this Cornplaint, the Plaintiff, Karolyn Porter, by undersigned counsel, states
as folloWs:

JURISDICTION

l. This action arises out of Defendants’ repeated violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § l692, et seq. (“FDCPA”), and the invasions of
Plaintiff’s personal privacy by the Defendants and its agents in their illegal efforts to
collect a consumer debt.

2. Supplernental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 139l(b), in that
Defendants transact business here and a substantial portion of the acts giving rise to

this action occurred here.

PARTIES

4. The Plaintiff, Karolyn Porter (hereafter “Plaintiff”), is an adult individual
residing in Los Angeles, California, and is a “consurner” as the terrn is defined by 15
U.S.C. § 1692a(3).

5 . Defendant, Mandarich LaW Group, LLP (“Mandarich”), is a address
business entity with an address of 6301 Owensmouth Avenue, Suite 850, Woodland
Hills, California 91367, operating as a collection agency, and is a “debt collector” as

the term is defined by 15 U.S.C. § l692a(6).

 

2 COMPLAINT FOR DAMAGES

 

 

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6. Does 1-10 (the “Collectors”) are individual collectors employed by
Mandarich and whose identities are currently unknown to the Plaintiff. One or more

of the Collectors may be joined as parties once their identities are disclosed through

 

discovery.
7. Mandarich at all times acted by and through one or more of the
Collectors.
ALLEGATIONS APPLICABLE T() ALL COUNTS
A. The Debt
8. The Plaintiff incurred a financial obligation in the approximate amount of

$1,800.00 (the “Debt”) to a creditor (the “Creditor”).

9. The Debt arose from services provided by the Creditor which were
primarily for family, personal or household purposes and which meets the definition
of a “debt” under 15 U.S.C. § 1692a(5).

lO. The Debt was purchased, assigned or transferred to Mandarich for
collection, or Mandarich was employed by the Creditor to collect the Debt.

ll. The Defendants attempted to collect the Debt and, as such, engaged in
“communications” as defined in 15 U.S.C. § 1692a(2).

B. Mandarich Enggges in Harassment and Abusive Tactics
12. Within the last year, Mandarich filed a lawsuit against Plaintiff and

served Plaintiff with the complaint and summons (the “Law Suit”).

 

3 COMPLAINT FOR DAMAGES

 

 

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13. Thereafter, on or about August 14, 2012, Plaintiff contacted Mandarich
to request an extension of time within which she could file an answer in the Law Suit.

l4. During the initial conversation, Mandarich failed to inform Plaintiff it
was speaking with her in an attempt to collect the Debt and that the information would
be used for that purpose.

15. Mandarich told Plaintiff that there was no opportunity for an extension to
answer the complaint as a judgment had already been entered against Plaintiff in the
Law Suit.

16. Plaintiff requested that Mandarich provide her with a copy of judgment.
Mandarich told Plaintiff that it would not provide her with a copy of the judgment and
that she needed instead to immediately make arrangements with Mandarich to pay the
Debt.

17. Plaintiff informed Mandarich that she was interested in paying the Debt
and offered to make monthly payments in an effort to reduce the amount owed until
the Debt was fully satisfied.

18. Mandarich responded that Plaintiff could not make monthly payments to
Mandarich because it was “not a debt collection company, but a law firm.” Mandarich
further advised Plaintiff that she needed to make an immediate payment of $2,500.00

in order to “avoid consequences.”

 

4 COMPLAINT FOR DAMAGES

 

 

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19. Mandarich further stated that if the payment of $2,500.00 was not
received immediately, Mandarich would begin levying Plaintiff’s assets, including but
not limited to her bank accounts, house, investments and automobile.

20. Plaintiff informed Mandarich that she could not afford to pay the amount
demanded. After some discussion, Mandarich then told Plaintiff it would accept
$1,800.00 as settlement in full of the Debt if Plaintiff paid by the 30th day of August,
2012.

21. Plaintiff indicated that she could not afford to pay the $1800.00, yet
Mandarich demanded that Plaintiff provide it with a post-dated check over the phone
to secure the arrangement

22. Mandarich informed Plaintiff that the judgment would remain on
Plaintiff’s credit report for 10 years unless the Debt was satisfied.

23. Plaintiff again inquired about the judgment and requested information
regarding the same. Mandarich responded by telling Plaintiff not to respond to the
complaint and to concentrate instead on obtaining funds to make the demanded
payment.

24. Plaintiff said she would try to get a loan and call Mandarich back to make

a payment.

 

5 COMPLAINT FOR DAMAGES

 

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25. Following the conversation, Mandarich began placing calls to Plaintiff at
an excessive and harassing rate, sometimes calling Plaintiff four to five calls per day
in an attempt to collect the Debt.

26. On one occasion, Mandarich called Plaintiff at her place of employment
in an attempt to collect the Debt.

27. Plaintiff informed Mandarich that she was working and could not
continue the call. Mandarich used a loud and aggressive tone with Plaintiff, insisting
that Plaintiff was not entitled to end the conversation until a post-dated check was
provided. Although Plaintiff continued to attempt to end the conversation,
Mandarich’s bullying tactics coerced Plaintiff to continue to the conversation against
her will, causing Plaintiff to feel oppressed and worried that her employment could be
in jeopardy.

28. On one occasion, Plaintiff told Mandarich that she had applied for a loan
but had not heard back from the credit union with an approval therefore Plaintiff could
not pay the Debt yet.

29. In response, Mandarich told Plaintiff that payment was required in order
to encourage the judge in the Law Suit to “post-pone the judgment, and that the Law
Suit was now “completed.” Mandarich threatened and bullied Plaintiff, insisting that
she provide her bank account information to avoid further legal action. Plaintiff

became so distressed and fearful of losing her assets because of the judgment, that she

 

6 COMPLAINT FOR DAMAGES

 

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felt coerced into providing Mandarich with her bank routing and checking account
number to settle the Debt.
30. Plaintiff is informed and believes and thereon alleges that Mandarich

never in fact obtained a judgment against her in the Law Suit.

C. Plaintiff Suffered Actual Damag§

31. The Plaintiff has suffered and continues to suffer actual damages as a
result of the Defendants’ unlawful conduct.

32. As a direct consequence of the Defendants’ acts, practices and conduct,
the Plaintiff suffered and continues to suffer from humiliation, anger, anxiety,
emotional distress, fear, frustration and embarrassment

33. The Defendants’ conduct was so outrageous in character, and so extreme
in degree, as to go beyond all possible bounds of decency, and to be regarded as

atrocious, and utterly intolerable in a civilized community.

M
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. § 1692, et seq.

34. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

35. The Defendants engaged in behavior the natural consequence of which
was to harass, oppress, or abuse the Plaintiff in connection with the collection of a

debt, in violation of 15 U.S.C. § 1692d.

 

7 COMPLAINT FOR DAMAGES

 

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36. The Defendants caused a phone to ring repeatedly and engaged the
Plaintiff in telephone conversations, with the intent to annoy and harass, in violation
of 15 U.S.C. § l692d(5).

37. The Defendants used false, deceptive, or misleading representation or
means in connection with the collection of a debt, in violation of 15 U.S.C. § l692e.

38. The Defendants misrepresented the legal status of the debt, in violation of
15 U.S.C. § 1692e(2).

39. The Defendants threatened the Plaintiff with attachment of his property if
the debt was not paid, in violation of 15 U.S.C. § l692e(4).

40. The Defendants threatened to communicate false credit information, in
violation of 15 U.S.C. § 1692e(8).

41. The Defendants employed false and deceptive means to collect a debt, in
violation of 15 U.S.C. § 1692e(10).

42. The Defendants failed to inform the consumer that the communication
was an attempt to collect a debt, in violation of 15 U.S.C. § 1692e(11).

43. The Defendants falsely informed the Plaintiff that no action was
necessary when the Plaintiff had received legal process, in violation of 15 U.S.C.

§ 1692e(15).
44. The Defendants used unfair and unconscionable means to collect a debt,

in violation of 15 U.S.C. § 1692f.

 

8 COMPLAINT FOR DAMAGES

 

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45. The foregoing acts and omissions of the Defendants constitute numerous
and multiple violations of the FDCPA, including every one of the above-cited
provisions.

46. The Plaintiff is entitled to damages as a result of the Defendants’
violations.

M
vIoLATIoN oF THE RoSENTHAL FAIR DEBT CoLLECTIoN
PRACTICES ACT, Cal. Civ. Code § 1788 et seq.

47. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

48. The Rosenthal Fair Debt Collection Practices Act, California Civil Code
section 1788 et seq. (“Rosenthal Act”) prohibits unfair and deceptive acts and
practices in the collection of consumer debts.

49. Mandarich Law Group, LLP, in the regular course of business, engages
in debt collection and is a “debt collector” as defined by Cal. Civ. Code § 1788.2(0).

50. The Defendants threatened the Plaintiff with seizure of his property if the
debt was not paid, without intending to take such action, in violation of Cal. Civ. Code
§ 1788.10(e).

51. The Defendants caused a telephone to ring repeatedly and engaged the
Plaintiff in continuous conversations with an intent to annoy the Plaintiff, in violation

of Cal. Civ. Code § 1788.ll(d).

 

9 COMPLAINT FOR DAMAGES

 

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52. The Defendants communicated with the Plaintiff with such frequency as
to be considered harassment, in violation of Cal. Civ. Code § 1788.1l(e).
53. The Defendants failed to comply with the provisions of 15 U.S.C. §
1692, et seq., in violation of Cal. Civ. Code § 1788.13(e).
54. The Defendants did not comply with the provisions of Title 15 , Section
1692 of the United States Code, in violation of Cal. Civ. Code § 1788.17.
55. The Plaintiff is entitled to damages as a result of the Defendants’
violations.
PRAYER FOR RELIEF
WHEREFORE, the Plaintiff prays that judgment be entered against the
Defendants;
A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(l) against the
Defendants;
B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)
against the Defendants;
C. Costs of litigation and reasonable attomey’s fees pursuant to l5 U.S.C.
§ 1692k(a)(3) against the Defendants;
D. Actual damages pursuant to Cal. Civ. Code § l788.30(a);
E. Statutory damages of $1,000.00 for knowingly and willfully committing
violations pursuant to Cal. Civ. Code § 1788.30(b);

 

10 COMPLAINT FOR DAMAGES

 

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F. Actual damages from the Defendants for the all damages including
emotional distress suffered as a result of the intentional, reckless, and/or
negligent FDCPA violations and intentional, reckless, and/or negligent
invasions of privacy and intentional infliction of emotional distress in an
amount to be determined at trial for the Plaintiff;

G. Punitive damages; and

H. Such other and further relief as may be just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

DATED: November 14, 2012 TAMMY HUSSIN
/§:<\"M§T
By:

Tammy Hussin, Esq.
Lemberg & Associates, LLC
Attorney for Plaintiff, Karolyn Porter

 

 

 

 

11 COMPLAINT FOR DAMAGES

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CASE NUMBER

V‘ PLAmrms<§)i -\_ EV 12 q 921 61 kaij

Karolyn Porter

 

Mandarich Law Group, LLP; and DOES 1-10,
inclusive,

DEFENDANT(s). SUMMONS

 

 

TO: DEFENDANT(S): Mandarich Law Group, LLP

 

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached El complaint l:| amended complaint
[3 counterclaim [] cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff’s attorney, Tamrn Hussin of counsel Lember & Associates, whose
address is 6404 Merlin Drive Carlsbad CA 92011. lf you fail to do so, judgment by default will be entered
against you for the relief demanded in the complaint You also must file your answer or motion With the court.

 

 

Clerk, U. S. District Court

Dated: NOV 2 0 2{“2 By: M//@ 011/dl &j

Deputy Clerk

(Seal ofthe Court)

[U.\'e 60 days ifthe defendant is the United States or a United States agencyJ or is an ojj‘icer or employee ofthe United States. Allowed
60 days by Rule 12(0)(3)].

CV-01A (12/07) SUMM()NS

 

 

